     Case 2:20-cv-02004-PSG-JEM Document 24 Filed 09/03/20 Page 1 of 5 Page ID #:211



1                              DECLARATION OF PETER BORENSTEIN
2

3     I, PETER BORENSTEIN, declare:

4
      1.     I am the attorney of record for Plaintiff John Njoroge (“Plaintiff”) in the above entitled
      action. I make this declaration in support of Plaintiff’s motion for leave to amend the complaint.
5
      I have personal knowledge of the matters set forth in this declaration. If called as a witness, I
6
      could and would competently testify to these matters.
7
      2.     Attached hereto as Exhibit A is a true and correct copy of a “meet and confer” email I
8
      sent to counsel for Defendant, Anthony T. Case, regarding a settlement offer made on behalf of
9     my client.
10    3.     Attached hereto as Exhibit B is a true and correct copy of Attorney Case’s response to the
11    “meet and confer” email, rejecting our settlement offer, and revealing that the value of the
12    annuity policy was paid out to Carolina Kimondo as Plaintiff’s attorney-in-fact in 2010.

13
      4.     On January 28, 2020, I filed Plaintiff’s complaint in Los Angeles Superior Court against
      CNO Services, LLC (“Defendant”) alleging two causes of action: Bad Faith Breach of Implied
14
      Obligation of Good Faith and Fair Dealing and Bad Faith Failure to Properly Investigate Claim
15

16
             I declare under penalty of perjury under the laws of the State of California that the
17
      foregoing is true and correct.
18

19           Executed on this 3rd day of September 2020, at Los Angeles, California
20

21

22
                                                            By:__________________________
                                                                    Peter Borenstein
23
                                                                    Attorney for Plaintiff
24
                                                                    JOHN NJOROGE
25

26

27

28



                   DECLARATION OF PETER BORENSTEIN – NJOROGE V. CNO SERVICES, LLC
                                                1
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                               EXHIBIT A
         Case 2:20-cv-02004-PSG-JEM Document 24 Filed 09/03/20 Page 3 of 5 Page ID #:213



                        June 17, 2020
           Law Office
         P.O. Box 885
Culver City, CA 90232
                        Anthony T. Case, Esq.
  213-362-8740 (tel)
  877-460-3681 (fax)
                        Farmer Case & Fedor
   peter@brnstn.org     402 W. Broadway, Ste. 1100
                        San Diego, CA 92101

                        RE: Njoroge v. CNO Services, LLC (2:20-cv-02004-AS)


                        Counsel:

                              My client has authorized me to begin settlement negotiations should your client be
                        amenable.

                                My client is willing to dismiss this case with prejudice in exchange for payment by
                        Defendant CNO Services, LLC of $63,864.55.00, the value of his father’s annuity with
                        interest since 2008 as calculated in Defendant’s Notice of Removal. Should the parties
                        resolve the case through settlement, Plaintiff will not pursue recovery of attorney’s fees or
                        punitive damages against Defendant.

                                 Plaintiff’s settlement offer will remain open for fourteen days from the date of this
                        letter. Please let me know if you’d like to schedule a time to discuss Plaintiff’s settlement
                        offer or a proposed counteroffer from Defendant.

                                Thank you.




                                Peter Borenstein, Esq.
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                               EXHIBIT B
Case 2:20-cv-02004-PSG-JEM Document 24 Filed 09/03/20 Page 5 of 5 Page ID #:215


                                                                       Please Reply To:

                                                                       San Diego Office
                                                                       402 W. Broadway, Suite 1100
                                                                       San Diego, CA 92101-8542
                                                                       Telephone: (619) 338-0300
                                                                       Facsimile: (619) 338-0180




                                           June 18, 2020

                                                                           Sent Via Email Only
 Peter Borenstein, Esq.                                                     peter@brnstn.org
 P.O. Box 885
 Culver City, California

 Re:      Njoroge v. CNO Services, LLC, et al.
          Case No.      2:20-cv-02004-AS
          Our File No.: 96.11131
          _______________________________________

 Mr. Borenstein:

         Thanks for your settlement demand. Bankers Life did not actually calculate any value for
 the subject annuity in its Removal papers. If you will read carefully, particularly paragraph 5 of
 Mr. Rikkers' Declaration, you will see the value given is purely hypothetical based on the
 erroneous description of the annuity in the Complaint. The Annuity was actually owned by your
 client and he was the annuitant. His father was the beneficiary. The value of the Annuity was
 completely paid out in 2010 to Mr. Njoroge's POA so has not existed on Bankers Life's books in
 almost 10 years.

         As such, Bankers Life must reject your demand and will proceed to vigorously defend the
 matter in federal court.



                                      Very truly yours,

                                      FARMER CASE & FEDOR

                                       Anthony T. Case

                                      Anthony T. Case, Esq.


 ATC:paf




       San Francisco, CA           Las Vegas, NV                     www.farmercase.com
